Case 08-31796-bjh11   Doc 904 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                        Main Document     Page 1 of 9
Case 08-31796-bjh11   Doc 904 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                        Main Document     Page 2 of 9
Case 08-31796-bjh11   Doc 904 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                        Main Document     Page 3 of 9
Case 08-31796-bjh11   Doc 904 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                        Main Document     Page 4 of 9
Case 08-31796-bjh11   Doc 904 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                        Main Document     Page 5 of 9
Case 08-31796-bjh11   Doc 904 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                        Main Document     Page 6 of 9
Case 08-31796-bjh11   Doc 904 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                        Main Document     Page 7 of 9
Case 08-31796-bjh11   Doc 904 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                        Main Document     Page 8 of 9
Case 08-31796-bjh11   Doc 904 Filed 06/25/10 Entered 06/25/10 15:19:32   Desc
                        Main Document     Page 9 of 9
